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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                             LAFAYETTE DIVISION

 GWENDOLYN J. ALLEN                    CIVIL ACTION NO. 6:20-cv-01468

 VERSUS                                JUDGE JUNEAU

 COMMISSIONER OF THE                   MAGISTRATE JUDGE HANNA
 SOCIAL SECURITY
 ADMINISTRATION

                                    JUDGMENT

       This matter was referred to United States Magistrate Judge Patrick J. Hanna

 for report and recommendation. After an independent review of the record, and

 consideration of objections filed, this Court concludes that the Magistrate Judge’s

 report and recommendation (Rec. Doc. 13) is correct and adopts the findings and

 conclusions therein as its own. Accordingly,

       IT IS ORDERED, ADJUDGED, AND DECREED that the decision of the

 Commissioner of the Social Security Administration is AFFIRMED, and this matter is

 DISMISSED WITH PREJUDICE, consistent with the report and recommendation.

       Signed at Lafayette, Louisiana, this 27th day of October, 2021.



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                                       MICHAEL J. JUNEAU
                                       UNITED STATES DISTRICT JUDGE
